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KNOWLES, M.J.
OCTOBER 1, 2015

                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

GENE A. LOVE, SR.                                               CIVIL ACTION

VERSUS                                                          NO. 15-550

GREATWIDE DEDICATED
TRANSPORT, III, L.L.C., et al                                   SECTION "A" (3)


                                         ORDER

      IT IS ORDERED that the Settlement Conference previously set in this

matter on October 20, 2015 is hereby RESET ON MONDAY, NOVEMBER 2,

2015 at 2:30 p.m. before Magistrate Judge Daniel E. Knowles, III, 500 Poydras

Street, Room B335, New Orleans, Louisiana. Counsel for all parties are instructed to

submit their respective updated settlement position letters on or before October 28,

2015, for the confidential and exclusive use of Magistrate Judge Daniel E. Knowles,

III. Position letters, which must be limited to three pages and double-spaced, may

be faxed to my chambers at 504-589-4500.

      Participation of parties is likely to increase the efficiency and effectiveness of the

settlement conference. Therefore, any party who resides or has a business address in the

Greater New Orleans area shall attend the conference in person with counsel. Parties

from outside of the Greater New Orleans area shall be available by telephone for the

duration of the settlement conference.
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Relaxed business attire is permitted on Fridays.




                            DANIEL E. KNOWLES, III
                            UNITED STATES MAGISTRATE JUDGE
